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                                               #:1



                        IN THE UNITED STATES DISTRICT COURT                            ~~1 2 42025
                          CENTRAL DISTRICT OF CALIFORNIA
                                    LOS ANGELES                                 e
                                                                                  NTRq~DISTRICTppFq~~FORN
                                                                                          A



   RICHARD VERRET,

           Petitioner                                  2:2~~-oQ~~~~wv—~
   vs.                                                   25-cv-


   WARDEN,FCI LOMPOC,in his
   official capacity,

           Respondent



    PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. &2241


           COMES NOW, your Petitioner in the instant case, pro se, who respectfully files

   this Petition for Writ of Habeas Corpus, pursuant to 28 U.S.C. Section 2241, and in

   support thereof, states as follows:



                         PROCEDURAL HISTORY OF THE CASE


         This Court has jurisdiction over this action pursuant to 28 U.S.C. § 2241 because

   Petitioner seeks relief from being held in custody in violation ofthe Eighth Amendment

   to the U.S. Constitution. In addition, the Court has subject matter jurisdiction over this

   Petition pursuant to 28 U.S.C. § 1331 (federal question) in that the Petitioner's claims

   arise under the federal statute providing for habeas corpus, 28 U.S.C. § 2241, and under

   Article I, § 9, cl. 2 ofthe U.S. Constitution (Suspension Clause), as Petitioner is held in

   violation ofthe Eighth Amendment to the U.S. Constitution.



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                                  PROCEDURAL HISTORY

          Petitioner has filed his initial administrative remedy with the institution, but it was

   denied, as were all subsequent administrative remedies.(See attached administrative

   remedies). Petitioner is already past his "out" date, and is eligible for immediate release

   based upon the clear language of the First Step Act and Second Chance Act, rendering his

   remaining in custody illegal. The BAP website currently lists Petitioner's "out" date

  (incorrectly) as July 13, 2025.

          Petitioner is a lawful permanent resident, and commenced the administrative

   remedy process after it was clear that the Federal Bureau of Prisons(BOP)had failed and

   would continue to fail to properly calculate and apply sentence credits(FTCs)pursuant to

   the First Step Act of 2018. Petitioner has to date accumulated at least 180 days of FTC

   credit,(in addition to the one-year reduction in his sentence), not including any Second

   Chance Act placement that Petitioner should have already received, and is eligible for

   immediate placement in a halfway house/home confinement. To date, Petitioner is

   unaware of whether or not the Warden or Federal Bureau of Prisons have begun the

   review process of referring him for possible halfway house/home confinement, under the

   Second Chance Act(SCA).



                                         ARGUMENTS

   1.THE WARDEN AND THE FEDERAL BUREAU OF PRISONS HAVE FAILED
    TO TIMELY APPLY HIS SENTENCE CREDITS MANDATED BY THE FIRST
                          STEP ACT OF 2018


          Under the First Step Act,(FSA), Time Credits "shall" be applied when

   incarcerated people earn them. The FSA makes this clear two separate times.



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   First, in 18 U.S.C. § 3632(d)(4)(A), the FSA states that "[a] prisoner... who successfully

   completes evidence-based recidivism reduction programming or productive

   activities, shall earn time credits .... "Second,in 18 U .S.C. § 3632(d)(4)(C),the FSA

   states that "[t]ime credits earned under this paragraph by prisoners who successfully

   participate in recidivism reduction programs or productive activities shall be applied

   toward time in prerelease custody or supervised release" and that "[t}he Director of the

   Bureau of Prisons shall transfer eligible prisoners ... into prerelease custody (emphasis

   added.)" Petitioner is clearly eligible for FSA credits and attaches hereto evidence

   thereof. Based upon the clear language ofthe First step Act, and the BOP's own policy

  (see attached), Petitioner is not disqualified from receiving FTC (or FSA)credits.

          As one federal judge explained in a 2021 case of O'Bryan v. Cox. 20-7582,(D of

   NJ ,8-25-2020),"[m)andatory words such as 'shall'impose a duty and permissive words

   such as'may 'grant discretion .... "Because Congress was clear in using the mandatory

   word "shall" in these instances, that court concluded,"no deference is to be accorded to

   the BOP position that it need do nothing with accrued time credits under the FSA until

   January 15, 2022." As the O'Bryan court noted, this is the only interpretation permitted

   by the "shall" heavy statute.

          Petitioner, a federal inmate at FCI Allenwood, alleges that the Federal Bureau of

   Prisons("BOP")has failed to properly apply his "Earned Time" credits for "Evidence-

   Based Recidivism Reduction Training" under the First Step Act, 18 U.S.C. §

   3632(d)(4)(A), a recently enacted statute aimed at assisting prisoners' reintegration into

   society. Petitioner contends that the BOP should have given him credit for his

   participation in various training programs, as well as his prison employment, reducing his




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   custodial sentence by one year, with the balance of his accrued FSA credits applied to

   any halfway house or home confinement. Petitioner further alleges that if those accrued

   sentence credits were applied pursuant to the clear language of FSA,he would already be

   eligible for release.



      II. THE FIRST STEP ACT OFFERS PRISONERS THE OPPORTUNITY TO
                  EARN CREDIT TOWARD THEIR SENTENCE.


           As noted in Goodman v. Ortiz, 20-7582,(D. NJ ,2020),

   Under the Act, the BOP created a risk and needs assessment system, titled

   "Prisoner Assessment Tool Targeting Estimated Risk and Need s"("PATTERN,")

   in compliance with the First Step Act, 18 U.S.C. § 3632(a). The First Step Act

   required the BOP,among other things, to "determine the type and amount of

   evidence-based recidivism reduction programming that is appropriate for

   each prisoner and assign each prisoner to such programming accordingly ...." 18

   U.S.C.A. § 3632(a)(3). Pursuant to 18 U.S.C. § 3632(d)(4), prisoners shall earn

   time credits for participation in such programs:

  (4)Time credits. -

  (A)In general. --A prisoner, except for an ineligible prisoner under subparagraph

  (D), who successfully completes evidence-based recidivism reduction

   programming or productive activities, shall earn time credits as follows:

  (i) A prisoner shall earn 10 days oftime credits for every 30 days of

   successful participation in evidence-based recidivism reduction

   programming or productive activities.




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   (ii) A prisoner determined by the Bureau of Prisons to be at a minimum or

   low risk for recidivating, who, over 2 consecutive assessments, has not

   increased their risk ofrecidivism, shall earn an additional

   5 days oftime credits for every 30 days of successful participation in

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   evidence based recidivism reduction programming

   or productive activities.

  (B)Availability. --A prisoner may not earn time credits under this paragraph for

   an evidence-based recidivism reduction program that the prisoner successfully

   completed-

   (i) prior to the date of enactment ofthis subchapter; or

  (ii) during official detention prior to the date that the prisoner's sentence

   commences under section 3585(a).

   Petitioner has maintained a MINIMUM PATTERN score, has

   a flawless institutional record and camp status, and is, therefore eligible to receive the

   maximum amount ofsentence credits, twelve(12) months.



                       III. THE FIRST STEP PATTERN PROGRAM



          "The First Step Act, Pub. L. No. 115-015, 132 Stat. 015(2018), signed into law

   on December 21, 2018, provides comprehensive federal criminal justice reform by, inter

   alia, creating a new risk and needs assessment system to provide appropriate

   programming for prisoners ...." Musprove v. Ortiz, No . CV 19-5222(NU-I), 2019 WL




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   2240563, at "'2(D.N.J. May 24, 2019). The First Step Act added the following relevant

   subsections to 18 U.S.C. § 3621:

  (h)Implementation of risk and needs assessment system. -

  (1)In general. --Not later than 180 days after the Attorney General

   completes and releases the risk and needs assessment system [release

   occurred on July 19, 2019](referred to in this subsection as the

  "System") developed under subchapter D,the Director ofthe Bureau of

   Prisons shall, in accordance with that subchapter-

  (A)implement and complete the initial intake risk and needs assessment

   for each prisoner (including for each prisoner who was a prisoner prior to

   the effective date of this subsection), regardless ofthe prisoner's length of

   imposed term of imprisonment, and begin to assign prisoners to appropriate evidence-

   based recidivism reduction programs.



    III. THE BUREAU OF PRISONS IS OBLIGATED TO IMMEDIATELY PLACE
          PETITIONER IN HALFWAY HOUSE OR HOME CONFINEMENT


          T'he clear language ofthe SCA provides for "up to" 365 days of halfway

   house/home confinement, based upon five factors. After the Petitioner's institution has

   made their analysis ofthose five factors, factoring in Petitioner's long incarceration,

   stellar programing,employment, and prison disciplinary record. The RRM under SCA is

   not invested with the authority to reduce one year to zero without explanation, and to do

   so is a clear and obvious abuse of administrative discretion, violative of Petitioner's
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   rights under the SCA,the Due Process Clause ofthe United States Constitution, and the

   BOP's own policies and procedures.

          Two cases that struck down the Bureau's attempts to limit FSA credits and

   halfway house placements are Yufenvuv v. Warden, where U.S. Magistrate Judge Andrea

   K. Johnstone, a federal judge in New Hampshire, ordered the BOP to apply the First Step

   Act time credits a federal prisoner, Austen Yufenyuy, had earned while in BOP custody

   from the date of sentencing, and 24- 3053-JWL United States District Court, District of

   Kansas, Woodlev v. Warden, USP Leavenworth/ In this case the judge rejected the

   Bureau scheme of stating that no room was available at the halfway house.

          In Woodley,the court ruled as follows: "Respondent's excuse for delaying

   petitioner's transfer to an RRC is that bed space is not available in a particular RRC... No

   such condition concerning bed availability is included among the requirements for

   eligibility under Section 3624(g), however, and thus immediate placement in prerelease

   custody is nevertheless required under Section 3632(d)(4)(C). As noted above,that

   statute uses the mandatory `sha11'(as distinguished, for instance, from the provision in

   Section 3624(g)(3)that the BOP `may' transfer a prisoner to early supervised release).

   Numerous courts have held that the BOP has no discretion to delay or refuse transfer of

   an eligible prisoner to prerelease custody, which transfer is mandatory. See, e.g., Doe v.

   Federal Bur. of Prisons, 2024 WL 455309, at *1-4 (S.D.N.Y. Feb. 5, 2024)(transfer to

   prerelease custody was required despite the prisoner's participation in the witness

   protection program); Ramirez v. Phillips, 2023 WL 8878993, at *4 (E.D. Cal. Dec. 22,

   2023)(agreeing with interpretation that transfer to prerelease custody is mandatory,

   BOP has no discretion not to transfer); Komando v. Luna,2023 WL 310580, at *4-8




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  (D.N.H. Jan. 13, 2023)(transfer to prerelease custody was required despite outstanding

   detainer; rejecting argument that the BOP had discretion."

          Petitioner has served the proper amount oftime in federal custody, and is now

   clearly eligible for immediate release.

       IV.PETITIONER. AS A LPR,CAN ONLY BE HELD OR DEPORTED BY
           ORDER OF AN IMMIGRATION JUDGE,NOT AN ICE AGENT

          Petitioner, is currently in full "legal" status in the United States, and has a valid

   work permit. Petitioner has not been served with any valid order to show cause(O5C)

   from an immigration judge, and is entitled to a hearing before that judge as a matter of

   due process. Thus, the BOP is without legal authority to held Petitioner beyond the end of

   the sentence ofconfinement. The Constitution's Suspension Clause, which protects the

   privilege ofthe habeas corpus writ, unquestionably requires some judicial intervention in

   deportation cases. Heikkila v. Barber, 345 U. S. 229,235. The writ has always been

   available to review the legality of Executive detention, see, e. g., Felker v. Turpin, 518 U.

   S.651,663, and, until the 1952 Act, a habeas action was the sole means of challenging a

   deportation order's legality, see, e. g., Heikkila, 345 U. S., at 235. Habeas courts have

   answered questions oflaw in alien suits challenging Executive interpretations of

   immigration law and questions oflaw that arose in the discretionary relief context. Pp.

   305-308.

          In this case, Petitioner has not been served with an Order to Show Cause(OSC)

   why she should not be deported, and is clearly not in immigration proceedings. By its

   own directives, ICE can only issue valid detainers if the recipient is removable under

   immigration statutes:"An immigration detainer is a request from ICE that asks a federal,

   state or local law enforcement agency —including jails, prisons or other confinement



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   facilities — to: Notify the requesting agency as early as possible before they release a

   removable noncitizen."

                                         . No such determination has been made by any duly-

   authorized immigration court.

          Since Petitioner has not been adjudicated a removable alien by an immigration

   judge(as opposed to a field agent), ICE has no authority to issue such a detainer, and the

   BOP is not obligated to honor same. The so-called "detainer" placed in the prison file is

   thus without validity and should be set aside by this Honorable court as void on its face.

             Additionally, numerous cases have also stated that ICE is without authority to

   take individuals such as Petitioner who are LPR's into custody without a hearing. See

   Padilla v ICE,et al, 2:18-cv-928 MJP, USDC, WD of Washington at Seattle. The Ninth

   Circuit has held that the government may impose mandatory detention on "only those

   criminal aliens it takes into immigration custody promptly upon their release" from

   criminal custody for an offense referenced in the mandatory detention statute. Individuals

   in states outside California and Washington who were not "promptly" detained upon their

   release from relevant criminal custody are entitled to a bond hearing under the Ninth

   Circuit's holding. Preap v. Johnson, 831 F.3d 1193, 1207(9th Cir. 2016)(emphasis

   added).

          Respondent, as the agent ofthe federal government, is obligated to follow federal

   law,and has no authority to deny Petitioner the sentence credits mandated by the First

   Step Act and the Second Chance Act. According to the Bureau of Prisons(BOP)Program

   Statements, a "detainer" refers to a hold placed on an inmate by another law enforcement

   agency, and the BOP policy states that a detainer generally does not affect an inmate's




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   regular program participation unless specific circumstances related to custody or security

   are impacted by the detainer; this information can be found primarily within "Program

   Statement 5322.12: Inmate Classification and Designation." Thus, by not granting

   Petitioner the earned sentence credits, the BOP is clearly in violation of its own program

   statement.


                                        CONCLUSION


          As previously set forth, Petitioner is entitled to relief, and DefendantlPetitioner

   respectfully moves this Honorable Court grant this Petition for habeas corpus, appoint

   counsel to represent Petitioner in subsequent proceedings, and all other reliefthat this

   Honorable Court deems just.

                                                     Respectfully Submitted,




                                 CERTIFICATE OF SERVICE

   Petitioner, does hereby certify that a true and correct copy of this Reply was duly caused
   to be served on all parties entitled to notice via the Prison Mailbox Rule on the ~ -t- ~
   day of ~~                ,2025, via First Class Mail.
            ~-
            .'
                                                                                          I
                                                     Signed:      ~ ,_tea.           ~--~-~,~~:.~(




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AO 242(Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241


                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                   Central District of California

                           Richard Verret


            __      _              __
                                etitioner

                                   V.
                                                                                   Case No.                    25 CV
                        Warden, FCI Lompoc                                                           ~~upplied byclerk ~fCourO


-- -- - ----              Respon7ent
( name ofwarden or authorized person having custody ofpetitioner)


                          PETITION FOR A WRIT OF HABEAS CORPUS UN-DER 28 U.S.C.§ 2241
                                                              Personal Information

1.      (a) Your full name: Richard Berret
        (b) Other names you have used:
                                                                                                                       - -- ------- - ---
2.       Place of confinement:
        (a) Name of institution:    FCI Lompoc
                                                                                         - --- — -- — --------
        (b) Address:        Lompoc, CA


        (c) Your identification number:      85191-509
3.       Are you currently being held on orders by:
        E~Federal authorities        Q State authorities                         ~ Other -explain:

4.        Are you currently:
         O A pretrial detainee (waiting for trial on criminal charges)
         E'~Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
            If you are currently serving a sentence, provide:
                 (a) Name and location of court that sentenced you:
                   Western District of Texas(San Antonio)
               (b) Docket number ofcriminal case:                            22-cr-22
                                                                                                            -      -         -- - ..
               (c) Date of sentencing: 06/28/2023
         ~ Being held on an immigration charge
         Q Other (explain):




                                                  Decision or Action You Are Challenging

5.        What are you challenging in this petition:
         L~1How your sentence is being ca►ried out, calculated, or credited by prison or parole authorities (for example,
           revocation or calculation of good time credits)

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         OPretrial detention
         aImmigration detention
         ~Detainer
         Q The validity of your conviction or sentence as imposed (for example,sentence beyond the statutory
           maximum or improperly calculated under the sentencing guidelines)
         C Disciplinary proceedings
         ]
         OOther (ezplarn):



6.      Provide more information about the decision or action you are challenging:
        (a) Name and locarion ofthe agency or court: FCI Lompoc, CA

        (b) Docket number, case number, or opinion number:
        (c) Decision or action you are challenging for dtscip~~,u ry pro~eedtngs, speciry the penalties imposed):
         Denial of request for proper application of FSA and SCA sentence credits.



        (d) Date of the decision or action: 08/25/2024

                                           Your Earlier Challenges of the Decision or Action

7.        First appeal
          Did you appeal the decision, file a grievance, or seek an administrarive remedy?
         L~Yes                   Q No
        (a) Tf"Yes," provide:
                 (1) Name ofthe authority, agency, or court: Warden, Lompoc

                  (2) Date of filing: 08/29/2024
                  (3) Docket number,case number,or opinion number:
                  (4) Result:
                  (5) Date of result: 08/30/2024
                  (6) Issues raised: Same




        (b) If you answered "No," explain why you did not appeal:



8.        Second appeal
          After the first appeal, did you file a second appeal to a higher authority, agency, or court?
         I~Yes                     Q No


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        (a) If"Yes," provide:
               (1) Name ofthe authority, agency, or court: BOP Region

                   (2) Date offiling: 08/22/2024
                   (3) Docket number, case number,or opinion number.             1216240-F1
                   (4) Result:    Denied
                   (5) Date of result: 10/08/2024
                                       ----   -- - - - - -----
                   (6) Issues raised: Same




        (b) If you answered "No," explain why you did not file a second appeal:



9.       Third appeal
         After the second appeal, did you file a third appeal to a higher authority, agency, or court?
        olYes                   O No
        (a) If"Yes," provide:
                (1) Name of the authority, agency, or court: BOP Central Office

                  (2) Date offiling: 09/09/2024
                  (3) Docket number, case number, or opinion number:             Same
                  (4) Result:    Denied
                  (5) Date of result: 11/14/2024
                  (6) Issues raised: Same




        (b) If you answered "No," eacplain why you did not file a third appeal:



10.      Motion under 28 U.S.C.§ 2255
         In this petition, are you challenging the validity of your conviction or sentence as imposed?
        Q Yes                  ~No
         If"Yes," answer the following:
        (a)     Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
                Q Yes                     ~ No


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                    If"Yes," provide:
                   (1) Name ofcourt:
                   (2) Case number:
                   (3) Date of filing:
                   (4) Result:
                                                                                                                   — -- - - -
                   (5) Date of result:
                   (6) Issues raised:




        (b)        Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
                   seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
                   sentence?
                  Q Yes                       ~No
                   If"Yes," provide:
                  (1) Name of court:
                  (2) Case number:
                  (3) Date offiling:
                  (4) Result:
                  (5) Date of result:
                  (6) Issues raised:




        (c)         Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
                    conviction or sentence:




1 1.    Appeals of immigration proceedings
        Does this case concern immigration proceedings?
        Q Yes                  ~' No
                If"Yes," provide:
       (a)      Date you were taken into immigration custody:
       (b)      Date of the removal or reinstatement order:
       (c)      Did you file an appeal with the Board of Immigration Appeals?
               O Yes                      ~ No


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        (d)         Did you appeal the decision to the United States Court of Appeals?
                   Q Yes                      a No
                    If"Yes," provide:
                   (1) Name of court:
                                                                                             --       --              ---—
                   (2) Date offiling:
                   (3) Case number:
                                                                                                           __      -- ----
                   (4) Result:
                   (5) Date of result:
                   (6) Issues raised:




                                                                                        -- _                           --
12.      Other appeals
         Other than the appeals you listed above, have you filed any other petition, applicarion, or motion about the issues
         raised in this petition?
        ~ Yes                     ~ No
         If"Yes," provide:
        (a) Kind of petition, motion, or application:
        (b) Name of the authority, agency, or court:

        (c) Date offiling:




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AO 242(Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

                                               Grounds for Your Challenge in This Petition
13.       State every ground (reason) that supports your claim that you aze being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
          facts supporting each ground_ Any legal arguments must be submitted in a separate memorandum.

       GROUND ONE: Seeking proper computation of FSA and SCA sentence credits, pursuant to statute.




        (a) Supporting facts (Be brief. Do not cite cases or law.):
        See attached memorandum.




        (b) Did you present Ground One in all appeals that were available to you?
        ~ Yes                 ~ No

       GROUND TWU:




        (a) Supporting facts (Be brief. Do not cite cases or law.):




        (b) Did you present Ground Two in all appeals that were available to you?
        Q Yes                 ~ No




        (b) Did you present Ground Three in all appeals that were available to you?
        ~ Yes                 Q No


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       GROUND FOUR:




        (a) Supporting facts (Be brief. Do not cite cases or law.):




        (b) Did you present Ground Four in all appeals that were available to you?
        Q Yes                 ~ No

14.      If there are any grounds that you did not present in all appeals that were available to you, explain why you did
         not:




                                                                Request for Relief

15. State exactly what you want the court to do: grant the writ of habeas corpus, compel proper computation of all
sentence credits, which would result in immediate release to halfway house or home confinement, appointment of
counsel for all court proceedings, and atl other relief that this Honorable Court deems just.




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                                                   Declaration Under Penalty Of Perjury

         1f you are incarcerated, on what date did you place this petition in the prison mail system:
         01/09/2025

1 declare under penalty of perjury that I am the petitioner, 1 have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.




Date:         01/09/2025                                            ~G~~-~.---~-                               ~/~-~~-~--~.~~
          -- -------- -
                                                                                               Signature ofPetitioner




                                                                                 ignature v Attorney or other aut orize person, i any




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          ~~           Individualized Needs Plan -Pro ram Review                         Inmate Co                    SEQUENCE: 02337890
     }
     ~ ~~~,'                            Dept. of Justice / Federal Bureau of Prisons                           Team Date: 10-10-2024
      i^-L'~'          Plan is Eor inmate: VERRET, RICHARD        95191-509

              Facility: LOM LOMPOC II FCI                                          Proj. Rel. Date: 07-13-2025
               Name: VERRET, RICHARD                                               Proj. Rei. Mthd: GOOD CONDUCT TIME
        Register Flo.: 95191-509                                                      DNA Status: LOM09325!10-26-2023
                 Age: 42
        Date of Birth: 12-05-1981
     Detainers
     Detaining Agency                                       Remarks
     IVO DETAINER

    Inmate Photo ID Status
     No photo ID -Expiration; null
    Current Work Assignments
    ~Facl    Assignment Description                                                   Start
    LOM          REC PM              REC PM CREW                                      05.23-2024
    Current Education Information
    Facl     Assignment Description                                                   Start
    LOM          ESL HAS             ENGLISH PROFICIENT                              08-01-2023
    LOM          GED EARNED          GED EARNED IN BOP                               09-19-2023
    Education Courses
    SubFacl Action                   Description                                     Start                     Stop
    LOM                              SOFTBALL OFFICIATING                            05-05-2024                CURRENT
    LOM                              ACE BEGINNING SPANISH                           07-29-2024                CURRENT
    LOM           C                  ACE FINANCIAL PEACE ENGLISH                     OS-09-2024                07-11-2024
    LOM           C                  INFORMATIONAL JOB FAIR                          04-04-2024                04-05-2024
    LOM           C                  ACEliNTRO TUTOR TRAINING                        03-29-2024                03-29-2024
    LOM           C                  ACE COMMERCIAL DRIVERS LICENSE                  02-05-2024                02-05-2024
    Discipline History (Last 6 months)
    Hearing Date            Prohibited Acts
'
" NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS"

Current Care Assignments
Assignment           Description                                                     Start
CARE1                            HEALTHY OR SIMPLE CHRONIC CARE                      10-31-2023
CARE1-MH                         CAREi-MENTAL HEALTH                                 10-23-2023
Current Medical Duty Status Assignments
Assignment            Description                                                    Start
REG DUN                          NO MEDICAL RESTR—REGULAR DUTY                       10-31-2023
VES F/S                          CLEARED FOR FOOD SERVICE                            10-31-2023
Current Drug Assignments
Assignment      Description                                                         Start
ED NONE                   DRUG EDUCATION NONE                                        10-28-2023
FRP Payment Plan
Most Recent Payment Plan
FRP Assignment:       COMPLY                       FINANC RESP-COMPLETED                Start: 01-19-2024
Inmate Decision: AGREED       $50.00                                      Frequency: MONTHLY
Payments past 6 months: $0.00                                     Obligation Balance: $0.00
Financial Obligat(ons
No.             Type            Amount                  Balance          Payable                  Status
1               ASSMT           $100.00          50.00              IMMEDIATE                     COMPLETEDZ
                                    "NO AOJUSTMElVTS MADE(N !1357 6 MOfVTHS"



Sentry Data as of 10-08-2024                       Individualized Needs Plan -Program Review (Inmate Copy)                  Page 1 of 3
   Case 2:25-cv-00756-SRM-MBK                              Document 1 Filed 01/24/25                            Page 20 of 31 Page ID
                                                                 #:20


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     ~1 ~'
                  Individualized Needs Plan -Program Review
                                   Dept, of Justice / Federal Bureau of Prisons
                                                                                           (Inmate Copy)
                                                                                                                     TEdip
                                                                                                                          SEQUENCE: 02337890
                                                                                                                              Date: 10-10-2024
      -r=~"       Plan is for inmate: VERAET, RICHARD              95191-509
  FRP Deposits
  Trust Fund Deposits -Past 6 months: $ N/A                                 Payments commensurate ?              N!A
  New Payment Pian: "No data ""
  Current FSA Assignments
 (Assignment          Description                                                         Start
  AWARD                         EBRR INCENTIVE AWARD                                      11-02-2023
  FTC EL~G                      FTC-ELIGIBLE -REVIEWED                                    10-28-2023
  N-ANGER N                     NEED -ANGER/HOSTILITY NO                                  10-08-2024
  N-ANT{SO N                    NEED - ANT1SdC1AL PEEftS NO                               10-OS-2024
  N-COGNTV N                    NEED -COGNITIONS NO                                       10-OB-2024
  N-DYSLEX N                    NEED -DYSLEXIA NO                                         11-01-2023
  N-EDUC N                      NEED -EDUCATION NO                                        10-08-2024
  N-FIN PV Y                    NEED -FINANCE/POVERTY YES                                 10-08-2024
 N-FMIPAR N                    NEED -FAMILY/PARENTING NO                                 10-08-2024
 N-M HLTH N                    NEED -MENTAL HEALTH NO                                    10-08-2024
 N-MED4CL N                    NEED -MEDICAL NO                                          10-08-2024
 N-RLF N                       NEED - REC/LEISURElFITNESS NO                             10-08-2024
 N-SUB AB N                    NEED -SUBSTANCE ABUSE NO                                  10-08-2024
 N-TRAUMA Y                    NEED -TRAUMA YES                                          10-08-2024
 N-WORK N                      NEED -WORK NO                                             10-08-2024
 R-(v11N                       MINIMUM RISK RECIDIVISM LEVEL                             1Q-08-2024
 Progress since last review
 Obtain a work assignment (Goal Complete)
 Priority Practice Groups (Goal Not Complete)
 Next Program Review Goals
 By your next team January 2025
 - Maintain a work assignment and perform to receive no less than good on performance evaluations.
   Enroll in FSA program such as Family Programming Series Program focuses 5-part gender responsive and trauma informed care curriculum for
 incarcerated men, designed as a support group to strengthen families during incarceration.
 Long Term Goats
 By your release date 07-13-2025
 -Save at least $500 by your release date.
 -Maintain clear conduct.
 -Maintain satisfactory work progress
RRC/HC Placement
 No.
 Criminal alien releasing to custody of ICE.
 Consideration has been given for Five Factor Review (Second Chance Act,'
 - Facility Resources
 - Offense
 - Prisoner
 - Court Statement
 - Sentencing Commission



Comments
Treaty Transfer' Eligible and not interested.
BP-338 Next Update: April 2025
Current Points: 4
FTC: ELIG
FSA Level: R-MIN
Maintain clear conduct and employment; Continue to maintain contact with family at least monthly; Foster a good relationship with staff members and
other inmates; Maintain appropriate personal hygiene and high sanitation standards; Determine and continue working towards release preparation and
obtainable goals.




Sentry Data as of 10-08-2024                 Individualized Needs Plan -Program Review (Inmate Copy)                                  Page 2 of 3
         Case 2:25-cv-00756-SRM-MBK            Document 1 Filed 01/24/25               Page 21 of 31 Page ID
                                                     #:21
                                        FSA Time Credit Assessment
                                       Register Number:95191-509, Last Name:VERRET
 U.S. DEPARTMENT OF JUSTICE                                                          FEDERAL BUREAU OF PRISONS


 Register Number....: 95191-509                                 Responsible Facility: LOM
 Inmate Name                                                    Assessment Date.....: 06-30-2024
     Last.............. VERRET                                  Period Start/Stop...: 10-19-2023 to 06-30-2029
     First............. RICHARD                                 Accrued Pgm Days....: 255
     Middle............                                         Disallowed Pgm Days.: 0
     Suffix............                                         FTC Towards RRC/HC..: 90
 Gender .............. MALE                                     FTC Towards Release.: 0
 Start Incarceration: 06-22-2023                                Apply FTC to Release: No

 Start          Stop          Pgm Status     Pgm Days
 10-19-2023     06-30-2024    accrue         255
    Cannot apply FTC
      No Term Suprv: Yes


 Start          Stop          Pgm Status     Pgm Days
 10-19-2023     05-19-2024    accrue         208
    Accrued Pgm Days...: 208
    Carry Over Pgm Days: 0
    Time Credit Factor.: 10
    Time Credi`s........ 60


Start          Stop           Pgm Status    Pgm Days
OS-14-2029     06-30-2024     accrue        47
    Accrued Pgm Days...: 47
    Carry Over Pgm Days: 28
    Time Credit Factor.: 15
    Time Credits........ 30
--- FSA Assessment -----------------
#     Start        Stop        Status          Risk Assignment Risk Asn Start            Factor
001 10-19-2023 11-16-2023 ACTUAL               FSA R-LW             11-02-2023 1315      10
002 11-16-2023 05-14-2024 ACTUAL               FSA R-LW             11-02-2023 1315      10
003 05-19-2024 08-12-2024 ACTUAL              FSA R-MIN             04-23-2024 0957      15




Assessment Date: 06-30-2024                               ~1~                                 Assessment# -2149771978
     Case 2:25-cv-00756-SRM-MBK                             Document 1 Filed 01/24/25                   Page 22 of 31 Page ID
                                                                  #:22



BP-5148.055      INMATE REQUEST TO STAFF                           c[~FF:-~                              Qp-~ re~~:~s ~"
SEP 98
U.S. DEPARTMENT OF JUSTICE                                                                     FEDERAL BUREAU OF PRISONS



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 V~ORK ASSIGt1MENT:                                                         [TIQIT:

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Case 2:25-cv-00756-SRM-MBK         Document 1 Filed 01/24/25              Page 23 of 31 Page ID
                                         #:23




                              BP-8 Reques
   INFORMAL RESOLUTION REQUEST                               DATE:                   o~   a,~'

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                Case 2:25-cv-00756-SRM-MBK                                      Document 1 Filed 01/24/25 Page 24 of 31 Page ID
   U.S. pEPABT~iENT OF NSTICE                                                         #:24
                                                                                       REQUEST FOR ADMINISTRATIVE REMEDY
   Fedetal Bureaii of Prisons


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    Part A- INMATE REQUEST


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                    DATE                                                                                                        SIGNATURE OF REQUESTER
   Part B- RESPOtiSE




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                  DATE                                                                                                    WARDEN OR REGIONAL DIRECTOR
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  ORIGINAL: RETL'Rti TO IN~I.aTE                                                                                             CASE NUMBER:~~~~>                                J


                                                                                                                             CASE NUMBER:
 Part C- RECEIPT
Return to:
                        LAST NAME. FIRST, MIDDLE INITIAL                                             REG. A'O.                            UNIT                        INSTiTt1TiON

SUBJECT

                                                                                                                                                                                      ~
                                                                                                                                                                                      ~ .
                  DA                                                                              RECIPIENT'S SIGNATURE (STAFF n9EMBER)                                            ~_229(73j
       Case 2:25-cv-00756-SRM-MBK        Document 1 Filed 01/24/25        Page 25 of 31 Page ID
                                               #:25


      BF-A0198                         INNSATE REQUES'.0 TO STAFF CDFRM
      JUNE 10
      U.S. DEPARTMENT OF JUSTICE                                     FEDERAL BUREAU OF PRISONS




  S UBJECT: (Briefly state your question or concern and the solution you are requesting.
  Continue on back, if necessary. Your failure t~ be specific may result in no action beinc
  taken. If necessary, you will be interviewed in order to successfully respond to your
  request.




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  DISPOSITION:




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                                                    T his form replaces BP -198.070 dated Oct 86
                                                    a nd BP-S198.070 APR 99


F@ALE IN SECTION 6 UNLES S APPROPRIATE FOR ~       gy p?' g'OLDER          SE CTION
Case 2:25-cv-00756-SRM-MBK   Document 1 Filed 01/24/25   Page 26 of 31 Page ID
                                   #:26




 LOM - 1209504-F2
 Part B - Response


This is in response to your Request for Administrative Remedy
received on August 22, 2024, in which you request your First
Step Act Federal Time Credits (FTCs) be applied to your release
date.

A review of this matter revealed, pursuant to Program Statement
5410.01 CN-2, First Step Act of 2018 - Time Credits, The Bureau
may apply FSA Time Credits toward early transfer to supervised
release under 18 U.S.C. 3624(g) only when an eligible inmate
has, in addition to satisfying the criteria in paragraphs (b)
and (c) of this section: (1) An eligible inmate has maintained a
minimum or low recidivism risk through his or her last risk and
needs assessment; (2) An eligible inmate has a term of
supervised release after imprisonment included as part of his or
her sentence as imposed by the sentencing court; and (3) The
application of FSA Time Credits would result in transfer to
supervised release no earlier than 12 months before the date
that transfer to supervised release would otherwise have
occurred.

Currently you are serving a 5~-month sentence for 18 U.S.C.
1029(a)(6), Unauthorized Solicitation of Access Devices, with no
supervised release to follow. Therefore, FTC credits cannot be
applied.

Accordingly, your Request for Administrative Remedy is denied.
If you are not satisfied with this response, you may submit an
appeal on the appropriate form (BP-10) to the Regional Director,
Western Regional Office, Federal Bureau of Prisons, 7338
Shoreline Drive, Stockton, CA, 95219, within 20 calendar days of
the date of this response.



                                         $/~/~2~
B. Birkholz,    rden                   Date
             Case 2:25-cv-00756-SRM-MBK                                     Document 1 Filed 01/24/25 Page 27 of 31 Page ID
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 Part B—RESP0ISE




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  StBJECT
Case 2:25-cv-00756-SRM-MBK   Document 1 Filed 01/24/25   Page 28 of 31 Page ID
                                   #:28




1209504-R1
FCC Lompoc
                                   nal Administrative Remedy
This is in resporse to your Regio
                                on September 13, 2024, wherein
Appeal received in this office
                                   cf FTC [sic] should be applied
you indicate ~~the first 365 days
                                  f, you request the Federal
towards early release." As relie
                                  FTC's towards early release."
Bureau of Prisons "apply [your]
                                 ry revealed you are a serving a
An investigation into your inqui
                                   of Z8 U.S.C. § 1029(a)(6) -
46-month sentence for a violation
                                     Devices. You have no term of
Unauthorized Solicitation of Access
                                    under 18 U.S.C. § 1029(a)(6),
supervision to follow. Convictions
                                   Credits ;FTCs) under the First
are eligible to earn Federal Time
                                    Federal Regulation (C.F.R.) §
Step Act; however, per the Code of
                                   of Prisons' Program Statement
523.40(b), and the Federal Bureau
                                   Time Credits: Procedures for
5410.01, First Step Act of 2018 -
                                       4), in order to apply FTCs
Implementation of 18 U.S.C. ~ 3632(d)(
                                          release," you must have
towards an "early transfer to supervised
                                       n to follow your term of
been sentenced to a term of supervisio
                                         a judge in good standing
incarceration. As you were sentenced by
                                                of incarceration
in the Middle District of Louisiana to a term
                                           n to  follow, FTCs are
which did not include a term of supervisio
                                             you are requesting.
prohibited from being applied in the manner
                                                tive Remedy is
Therefore, your request for Regional Administra
                                                  may appeal to
denied. If dissatisfied with this response, you
                                             Priso  ns, 320 First
the Office of the General Counsel, Bureau of
                                                      be received
Street, NW, Washington, DC 20534. Your appeal must
                                       30 calen dar  days of the
in the General Counsel's Office within
date of this response.



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              Case 2:25-cv-00756-SRM-MBK                             Document 1 Filed 01/24/25 Page 29 of 31 Page ID
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 Part B -RESPONSE




                                                                                                                                    N ~J V p i 2024
                                                                                                                                 Administrative Remedies
                                                                                                                                 Federal Bureau of Prisons




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Case 2:25-cv-00756-SRM-MBK                                    Document 1 Filed 01/24/25                                                        Page 30 of 31 Page ID
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Case 2:25-cv-00756-SRM-MBK                                                      Document 1 Filed 01/24/25                                               Page 31 of 31 Page ID
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